                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN C. MCLEMORE, CHAPTER 7                        )
TRUSTEE,                                           )
                                                   )
     Plaintiff,                                    )
                                                   )       NO. 3:19-cv-000603
v.                                                 )
                                                   )       JUDGE CAMPBELL
ALLIANT CREDIT UNION,                              )       MAGISTRATE JUDGE HOLMES
                                                   )
     Defendant.                                    )

                                             ORDER

         The Court held a status teleconference on January 3, 2022. Counsel for Plaintiff stated on

the record that Plaintiff’s claims are no longer viable following Facebook, Inc. v. Duguid, 141 S.

Ct. 1163 (2021). Accordingly, Plaintiff seeks dismissal of the case. Given these statements of

counsel, the Court does not need to address the pending motion for summary judgment (Doc. No.

60), which is denied as moot, and this case is DISMISSED pursuant to Federal Rule of Civil

Procedure 41(a)(2). The Clerk is directed to close the file.

         It is so ORDERED.

                                                          ________________________________
                                                          WILLIAM L. CAMPBELL, JR.
                                                          UNITED STATES DISTRICT JUDGE




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